Dear Mr. Yarbrough:
Your inquiry of recent date addressed to the Attorney General has been directed to me for attention and reply.
I understand your question to be as follows:
             "Does the Sheriff have the authority to build a prison without coming through the Police Jury, and can a Sheriff obligate the Sheriff's Department for any long term debt."
The law providing for the creation of law enforcement districts is contained in R.S. 33:9001 et seq. The primary purpose of law enforcement districts is to provide for the needs and the financing of the sheriff's office. The power to borrow is contained in R.S. 33:9001, and any debt or obligations incurred under the provisions of R.S. 33:9001 et seq., would be binding upon the district, "including any subsequent ex officio executive officer or chief executive officer of the law enforcement district" (R.S. 33:9004).
Therefore, provided that the provisions contained in R.S. 33:9001
et seq., relating to law enforcement districts are followed, the district may construct a prison and provide for the financing therefore without the approval of the parish police jury, and a debt for the financing of the prison would be binding upon the subsequent officers of the law enforcement district.
Hon. Ray Yarbrough
If you have any further questions regarding this matter, please contact this office.
Very truly yours,
                                       RICHARD P. IEYOUB Attorney General
                                 BY: ____________________________ HARRY H. HOWARD Spec. Asst. Attorney General
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